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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY

    SECURITIES AND EXCHANGE COMMISSION,

                                   P1aintiff                     I 6-CV-01428--MCA-MAH

                   V.                                                                    —

                                                                                SLt.-ic
    CARY LEE PETERSON,                                                                C)
                                   Defendant.


                             [D€J] FINAL JUDGMENT
                        AS TO DEFENDANT CARY LEE PETERSON

         The Court having granted Plaintiff Securities and Exchange Commission’s

   Q’SEC”) motion for summary judgment as to liability and injunctive and other non-

  monetary relief against Defendant Cary Lee Peterson (“Defendant”), as set forth in

  the Court’s Letter Order dated May 27, 2022 (D.E. 87), and having granted the SEC’s

  motion for monetary relief against Defendant, filed on December 6, 2022:

                                                 I.

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently restrained and enjoined from violating, directly or

  indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)

   [15 U.S.C.   § 78j(b)j   and Rule lOb-5 promulgated thereunder [17 C.F.R.   § 240.lOb-5],
  by using any means or instrumentality of interstate commerce, or of the mails, or of
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   any facility of any national securities exchange, in connection with the purchase or sale

   of any security:

          (a)    to employ any device, scheme, or artifice to defraud;

          (b)    to make any untrue statement of a material fact or to omit to state a

          material fact necessary in order to make the statements made, in the light of

          the circumstances under which they were made, not misleading; or

          (c)    to engage in any act, practice, or course of business which operates or

         would operate as a fraud or deceit upon any person.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

  provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

  binds the following who receive actual notice of this Final Judgment by personal

  service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

  attorneys; and (b) other persons in active concert or participation with Defendant or

  with anyone described in (a).

                                              II.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

  that Defendant is permanently restrained and enjoined from violating Section 17@) of

  the Securities Act of 1933 (the <‘Securities Act”) [15 U.S.C.   § 77q(a)]   in the offer or

  sale of any security by the use of any means or instruments of transportation or

  communication in interstate commerce or by use of the mails, directly or indirectly:

         (a)     to employ any device, scheme, or artifice to defraud;

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         (b)    to obtain money or property by means of any untrue statement of a

         material fact or any omission of a material fact necessary in order to make the

         statements made, in light of the circumstances under which they were made,

         not misleading; or

         (c)    to engage in any transaction, practice, or course of business which

         operates or would operate as a fraud or deceit upon the purchaser.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

  provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

  binds the following who receive actual notice of this Final Judgment by personal

  service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

  attorneys; and (b) other persons in active concert or participation with Defendant or

  with anyone described in (a).

                                               III.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,

  pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C.         § 78u(d)(2)j and Section
  20(e) of the Securities Act [15 U.S.C.   § 77t(e)J, Defendant is prohibited from acting as
  an officer or director of any issuer that has a class of securities registered pursuant to

  Section 12 of the Exchange Act [15 U.S.C.      § 7811   or that is required to file reports

  pursuant to Section 15(d) of the Exchange Act [15 U.S.C.         § 78o(d)].



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                                               Iv.

           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

   that Defendant is permanently barred from participating in an offering of penny

   stock, including engaging in activities with a broker, dealer, or issuer for purposes of

  issuing, trading, or inducing or attempting to induce the purchase or sale of any penny

  stock. A penny stock is any equity security that has a price of less than five dollars,

  except as provided in Rule 3a5i-1 under the Exchange Act [17 C.F.R. 240.3a51-ij.

                                                V.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is liable for disgorgement of $105,371.85 representing profits gained as a

  result of the conduct alleged in the Complaint, together with prejudgment interest

  thereon in the amount of $36,662.10 for a total of $142,033.95. Defendant’s

  $142,033.95 payment obligation shall be deemed satisfied by the Order of Restitution

  entered against Defendant in United States v. Caty Lee Peterson, Crim. No. 3:1 6-cr-

  00230-AET (D.N.J.), Docket Entry 156.

                                               VI.

           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

  that Defendant is liable for a civil penalty in the amount of $150,000 pursuant to 15

  U.S.C.   §   77t(cl)(2) & 78u(d)(3). Defendant shall satisfy this obligation by paying

  $150,000 to the Securities and Exchange Commission within 30 days after entry of

  this Final Judgment.

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          Defendant may transmit payment electronically to the Commission, which will

   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also

   be made directly from a bank account via Pay.gov through the SEC website at

   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified

   check, bank cashier’s check, or United States postal money order payable to the

   Securities and Exchange Commission, which shall be delivered or mailed to

         Enterprise Services Center
         Accounts Receivable Branch
         6500 South MacArthur Boulevard
         Oklahoma City, OK 73169

   and shall be accompanied by a letter identifying the case title, civil action number, and

   name of this Court; Cary Lee Peterson as a defendant in this action; and specifying

   that payment is made pursuant to this Final judgment.

         Defendant shall simultaneously transmit photocopies of evidence of payment

  and case identifying information to the Commission’s counsel in this action. By

  making this payment, Defendant relinquishes all legal and equitable right, title, and

  interest in such funds and no part of the funds shall be returned to Defendant.

         The Commission may enforce the Court’s judgment for penalties by the use of

  all collection procedures authorized by law, including the Federal Debt Collection

  Procedures Act, 28 U.S.C.   §   3001 etseq., and moving for civil contempt for the

  violation of any Court orders issued in this action. Defendant shall pay post judgment

  interest on any amounts due after 30 days of the entry of this Final judgment


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   pursuant to 28 U.S.C.   1961. The Commission shall hold the funds, together with

   any interest and income earned thereon (collectively, the “Fund”), pending further

   order of the Court.

         The Commission may propose a plan to distribute the Fund subject to the

  Court’s approval. Such a plan may provide that the Fund shall be distributed

  pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of

  2002. The Court shall retain jurisdiction over the administration of any distribution of

  the Fund and the Fund may only be disbursed pursuant to an Order of the Court.

         Regardless of whether any such Fair Fund distribution is made, amounts

  ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

  penalties paid to the government for all purposes, including all tax purposes. To

  preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

  reduction of any award of compensatory damages in any Related Investor Action

  based on Defendant’s payment of disgorgement in this action, argue that he is entitled

  to, nor shall he further benefit by, offset or reduction of such compensatory damages

  award by the amount of any part of Defendant’s payment of a civil penalty in this

  action (“Penalty Offset”). If the court in any Related Investor Action grants such a

  Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the

  Penalty Offset, notify the Commission’s counsel in this action and pay the amount of

  the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission

  directs. Such a payment shall not be deemed an additional civil penalty and shall not

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   be deemed to change the amount of the civil penalty imposed in this Judgment. For

   purposes of this paragraph, a “Related Investor Action” means a private damages

   action brought against Defendant by or on behalf of one or more investors based on

   substantially the same facts as alleged in the Complaint in this action.

                                              VII.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

   Court shall retain jurisdiction of this matter for the purposes of enforcing the terms of

   this Final Judgment.



  Dated:
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                                            UNITED STATES DISTRICT JUDGE




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